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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNlA

CIVlL MINU'I`ES - GENERAL
Case NO. CV 06-6213 MMM(.ICX) Date July 19, 2010

 

Title ln Re Northrop Grumman Corporation ERISA Litigation

 

 

Prescnt: The Honorable Jacqueline Chooljian, United States Magistrate Judge

 

 

Kimberly l. Carter None None
Deputy C\erk Court Reporter/ Recorder Tape No.
Attorneys Pi'esent i`or Plaintiffs: Attorneys Present for Defendants:
None None
Proceedings: ORDER (l) VACATING HEARlNG DATE ON DEFENDANTS’

MOTION FOR PROTECTIVE ORDER QUASHING PLAINTIFFS’
SECOND SET OF REQUESTS FOR PRODUCTION (“DEFENDANTS’
MOTI()N”); (2) GRANTING IN PAR'I` AND DENYING IN PART
DEFENDANTS’ MOTION (DOCKET NO. 261); (3) DENYING AS
MOOT GRABEK PLAINTIFFS’ UNOPPOSED REQUEST TO
APPEAR TELEPHONICALLY AT HEARING (DOCKET NO. 272)

Pending before this Court and currently scheduled for hearing on July 20, 2010 at 9:30 a.m., is
Defendants’ Motion for Protective Order Quashing Plaintiffs’ Second Set of Requests for Production
(“Defendants’ Motion”) (Docket No. 261). Also submitted and considered by the Court in conjunction
with Defendant’s Motion are the panies’ Joint Stipulation (“JS”) (Docket No. 262), a Declaration of
Chris C. Scheithauer (“Scheithauer Decl.”) with exhibits (“Scheithauer Ex.”) (Docket No. 263), a
Declaration of Nancy G. Ross (“Ross Decl.”) with an exhibit (“Ross Ex.”) (Docket No. 264), a
Declaration of Jason P. Kelly (“Kelly Decl.”) with exhibits (“Kelly Ex.”) (Docket No. 265), and
Defendants’ Supplemental Memorandum (Det`endants’ Supp. Memo”) (Docket No 26?).

Also pending is the Plaintiffs’ Unopposed Request to Appear Telephonically at July 20, 2010
Hearing (“Plaintiffs’ Request”). (Docket No. 272).

Pursuant to Rule 78 of the F ederal Rules of Civil Procedure and Loca] Rule 7-15, the
court finds Defendants’ Motion appropriate for decision without oral argument The hearing on
Defendants’ Motion which is currently calendared for July 20, 2010 is hereby vacated and the matter
taken off calendar.

Based on the foreg.)l'oing1 Plaintit"fs’ Request is moot and is denied as such.

Based on the Court’s consideration of the parties’ submissions in connection with Defendants’
Motion and for the reasons discussed below, Defendants’ Motion is granted in part and denied in part.

 

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UNITED STATES DlSTRICT COURT
CENTRAL DlSTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

 

 

Case No. CV 06-()213 MMM(JCx) Date July 19, 2010
Title ln Re Noithrop Grumman Corporation ERlSA Litigation
I. Pertinent Facts

On Septeinber 28, 2006, plaintiffs filed the Complaint in this aetion. On Mareh 14, 2007,
plaintiffs filed the currently operative First Amended Complaint. Plaintiffs allege that defendants
breached their fiduciary duty to plaintiffs in connection with the administration of two ERISA plans:

(l) the Northrop Grumman Savings Plan, Plan 01 l (the “NGS Plan”) and (2) the Northrop Grumman
Finaneial Seeurity and Savings Program, Plan 010 (the “FSS Plan”) (eolleetively the “ERISA Plans in
Issue”). More speeifically, plaintiffs allege that defendants breached their fiduciary duty to plaintiffs by,
among other things: (1) causing the ERISA Plans in lssue to enter into agreements with service
providers under which the plans paid fees and expenses that were unreasonable and/or not incurred
solely for the benefit of the plans’ participants; (2) allowing and causing the plans to pay fees and
expenses that were unreasonable and/or not incurred solely for the benefit of the plans’ participants; and
(3) failing to appoint fiduciaries (e.g., investment managers) who lived up to their fiduciary duties, to
monitor/oversee those appointed, and to remove those who breached their fiduciary duties. The First
Amended Complaint focuses on: (l) the alleged overpayment of management fees to seven funds which
allegedly delivered passive management, rather than the promised (and more expensive) active
management; and (2) the alleged payment of excessive administrative and management fees relative to
the Northrop Gruinman Stock Fund.

On .lanuary 24, 2007, the parties’ counsel met to conduct the conference of counsel pursuant to
Rule 26(f) of the Federal Rulcs of Civil Proeedure and Local Rule 26-1 (the “Rule 26(f) Conference”).
(Ross Deel. 11 2; Ross i`:`.x. A). Defendants’ counsel attests that defendants’ attorney Nancy G. Ross met
with plaintiffs’ then attorney Elizabeth Hubertz. (Ross Decl. 11 2; Ross Ex. A).

Defendants’ counsel attests that during the Rule 26(f) Con ferenee, the parties agreed that
defendants need only produce documents relevant up to the date the original complaint was filed
(September 28, 2006) and thus that plaintiffs’ document requests would seek documents prior to
September 29, 2006. (Ross Decl. ii 3).

On February 7, 200'!, plaintiffs served defendants with Plaintiffs’ First Set of Requests for
Production (“First Document Requests”). (Kelly Ex. 5; Seheithauer Decl. 11 4; Seheithauer Ex. A). The
First Document Requests expressly state: “These requests to produce cover the period 10 years prior to
September 29, 2006." (Kelly Ex. 5; Seheithauer l)ecl. 11 4; Seheithauer Ex. A). Defendants’ counsel

attests that this is consistent with the agreement reached between counsel at the Rule 26(f) Conferenee.
(Ross Deel. 11 3).

On Februaiy 9, 200?, the parties filed a loint Report of Rule 26(f) Conference (“Joint Report”)
which reflects that defendants did net then believe it necessary to modify any of the limitations on
discovery (Kell_v Decl. 1| 8; Kelly fix. 4). The Joint Report does not address, or at least does not
expressly address the parties’ positions with respect to the time scope of discovery as pertinent to
Defendants’ Motion. (Kelly Ex. 4). ln the Joint Report, plaintiffs proposed a trial date of.lune 1, 2008
(i.e., a date approximately twenty (20) months after the date the Original Complaint was filed).

On Mareh 12, 2007. defendants served plaintiffs with defendants’ Responses and Objections to
[the First Document Requests]. (Scheithauer Decl. 1| 5; Seheithauer Ex. B). Defendants’ Responses
generally objected to the First Documents Requests “on the grounds that [each of the First Document

 

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UNITED STATES DISTRICT COURT
CENTRAL DlSTRlCT OF CALIFORNIA

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Title ln Re Northrop Gruinman Corporation ERISA Litigation

Requests] [was] not limited to any reasonable time period and [sought] documents and information
concerning a time period barred by the applicable statute of limitations.” (Scheithauer Decl. 11 5;
Seheithauer Ex. B). Most of defendants’ individual responses to the individual requests further reflect
that, barring other objections, defendants would produce responsive documents for the period of
“September 28, 2000 through and including September 28, 2006 . . . ” (Scheithauer Decl.11 5;

Seheithauer Ex. B [Dcfendants’ Responses to First Document Requests Nos. 1-13, 15-22, 24, 26, 29»
32]).

On June 25, 2007, plaintiffs, through then counsel Kathy Wisniewski, sent defendants’ counsel a
meet and confer letter asserting that defendants were required to produce documents prior to September
2000 and after September 200(). (Scheithauer Decl. 11 12).

Defendants’ counsel attests that on June 29, 200?, in a follow-up telephone conference,
defendants’ attorneys advised plaintiffs’ then counsel, Ms. Wisniewski, that the parties had previously
agreed to the September 28, 2006 cutoff date for production and pointed out that plaintiffs’ First
Document Requests specifically stated that defendants need only produce documents for the time period
“prior to September 29, 2006.” (Scheithauer Decl. 11 12). Defendants’ counsel further attests that MS.
Wisniewski did not raise the issue again (Scheithauer Decl. 1| 12).

On September 28, 2007, the case was stayed pending an interlocutory appeal of an order denying
class certification On September 30` 2009, the matter was remanded

On November 24, 2009, plaintiffs, through current counsel, generated a letter regarding the
substance of a discussion between counsel that date. (Scheithauer Decl. 11 14; Seheithauer Ex. E).
Plaintiffs’ counsel requested that defendants supplement all discovery responses and Fed. R. Civ. P.
Rule 26(a)(1) initial diselosures, including, but not limited to four specified categories of items.
(Scheithauer Decl. 11 14; Seheithauer Ex. E). Plaintiffs’ counsel further acknowledged that defendants
were “resisting supplementation of discovery for the period subsequent to the filing date of the original
complaint,” noted that plaintiffs viewed such a position to be “untenable and without legal support,”
further acknowledged that defendants alleged the existence of an agreement justifying such a cut-off
period, and asked that defendants produce/identify any documentation to establish the alleged agreement
and/or legal support for defendants’ position (Scheithauer Decl. 11 14; Seheithauer Ex. E).

On May 7, 2010, plaintiffs filed a motion for leave to file a second amended complaint which is
currently submitted for decision with the assigned District Judge. The proposed second amended
complaint which was lodged with such motion alleges, among other things that defendants breached
their fiduciary duty to plaintiffs by: (l) causing the F,RlSA plans in issue to enter into agreements with
service providers under which the plans paid fees and expenses that were unreasonable and/or not
incurred solely for the benefit of the plans’ participants; (2) allowing and causing the plans to pay fees
and expenses that were unreasonable and/or not incurred solely for the benefit of the plans’ participants;
and (3) failing to appoint fiduciaries who lived up to their fiduciary duties, to monitor/oversee those
appointed, and to remove those who breached their fiduciary dutiesl (Kelly Ex. 3). The proposed
second amended complaint focuses on; (l) the alleged payment of excessive management and
administrative fees relative to the Northrop Gruinman Stock Fund; (2) the alleged overpayment of
management fees relative to four other funds; (3) the alleged payment of excessive administrative fees
relative to each of the investment options due to a self-interested incentive structure including a failure

 

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UNITED STATES DISTRICT COURT
CENTRAL DlSTRlCT OF CALIFORNIA

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Titlc ln Re Northrop Gruniman Corporation F,RlS/-\ lsitigation

to outsource administrative functions; and (4) the selection and retention of investment managers who
charged excessive fees, based upon improper criteria such as whether such managers provided
defendants with preferential discounts and benefits to defendants and other plans

On or about May 28, 2010_, plaintiffs served defendants with Plaintiffs’ Second Set of Requests
for Production (“Second Document Requests” or “RFP(_s)”). {Kelly Ex. l; Seheithauer Decl. 11 21;
Seheithauer Ex. Q). Plaintifl`s’ Second Document Requests contain two categories of requests
(l) requests which mirror those contained in the First Document Requests, but also call for documents
created after September 28, 2006 through the close of fact discovery (RFPs 55-87); and (2) requests
which call for documents related to specified investment managers/service providers who allegedly
provided impermissible benefits to defendants at the expense of participants in the ERISA Plans in lssue
(RFPs 34-54). (Kelly Decl. 112; Kelly Ex. l; Seheithauer Decl. 11 21; Seheithauer Ex. Q).

The current fact discovery cut-off in this action is August 27, 2010. The current expert discovery
cut-off is Octobcr 18, 2010.'

ll. Discussion

Defendants’ Motion (l) seeks a protective order quashing the Second Document Requests in
their entirety: (2) requests defendants` costs and fees in bringing Defendants’ Motion; and
(3) alternatively requests that the Court order plaintiffs to pay for the costs incurred in searching for and
producing the requested documents Defendants assert that the requested relief is appropriate because
the Second Document Requests (l) improperly seek to expand the time period at issue in this case; and

(2) improperly seek information and documents not relevant and not likely to lead to the discovery of
admissible evidence

First, this Couit rejects defendants’ contentions that the Second Document Requests are
untimely. Although this action has been pending for some time, the Second Document Requests were

served on or about May 28, 2010, approximately three months before the current discovery cut-off date
of August 27, 2010.

Second, this Court rejects dcl`cndants’ contentions that the Second Document Requests are
improper merely because they seek documents regarding events before September 29, 2000 which may
be barred by the applicable statute of limitations The fact that events may be barred by the statute of
limitations and may well not be appropriate predicates for plaintiffs’ claims, does not mean that such
events/documents would not be relevant to plaintiff’ s claims. Having said that, however, the Court
nonetheless believes it appropriate to grant Defendants’ Motion to the extent it seeks a Protective Order
quashing the Second Document Requests to the extent they seek documents regarding events before
September 29, 2000 as the burden or expense of such discovery outweighs its likely benefit, considering

the needs of the case and the importance ofdiscovcry for such time frame in resolving the issues in this
case.

 

lPlaintiffs’ Ex Parte Application to Amend Scheduling Order to extend the discovery and expert

discovery cut-off deadlines is currently pending before the assigned District Judge.
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UNITIED STATES DlSTRlCT COURT
CENTRAL DlSTRlCT OF CALIFORNIA

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Title ln Re Northrop Grumman Corporation ERlSA Litigation

Third, the evidence presented to the Court weighs in favor of finding that in January 2007,
plaintiffs’ then counsel agreed to limit discovery up to September 28, 2006, the date the Original
Complaint was filed. Defendants’ counsel attests to the existence of such an agreement The time
limitation contained in the First Document Requests corroborates defendants’ counsel’s attestation The
evidence upon which plaintiffs rely to suggest a contrary conclusion - evidence which does not include a
declaration from plaintiffs’ then counsel - does not persuade the Court that it should disbelieve the
firsthand sworn and corroborated attestation of dcfcndants’ counsel. Having said that, however, the
Court notes that there has been a material change in circumstances since this agreement was made which
persuades the Court that plaintiffs should not be held to the letter of such agreement More specifically,
it is reasonable to infer that at the time the agreement was made, plaintiffs’ counsel expected that the
matter would proceed to trial relatively expeditiously and that information up to the date of the filing of
the Original Complaint would be reasonably current As noted above, at about the time plaintiffs’
counsel agreed to limit discovery up to thc date the Or'iginal Complaint was filed (September 27, 2006),
plaintiffs’ counsel proposed a trial date approximately twenty (20) months after such filing (June 1,
2008). ln other words_, counsel anticipated that discovery would be current up to approximately (20)
months prior to the trial. Accordingly, this Court deems it reasonable, in light of the delay attributable to
the appeal and stay of this matter, to expand the time frame in issue to a date twenty (20) months prior to
the current trial date of January l 1, 2010, i'.e., May l 1, 2009.2 This Court thus believes it appropriate to
grant Defendants’ Motion to the extent it seeks a Protective Order quashing the Second Document
Requests to the extent such requests seek documents regarding events after May l l, 2009.

Fourth, the Court addresses defendants’ contention that plaintiffs are asking defendants to
produce documents pertaining to specific alleged service providers to the plans as to which “there is
little doubt that to the extent such documents exist for the time period previously agreed upon by the
parties, i.e., September 29. 2000 to September 28, 2006, they have already been produced.” (JS 2).
Plaintiffs represent that they do not request the reproduction of documents previously produced. (Kelly
Decl. 11 14). To the extent defendants have previously produced documents responsive to the Second
Document Requests, defendants need not produce them again.

Fifth, the C ourt addresses defendants’ contention that plaintiffs improperly seek unredacted
versions of documents which have been redacted to exclude irrelevant information regarding other plans.
This Court, consistent with its prior ruling on this topic (Docket No. 255), denies Defendants’ Motion to
the extent defendants request that they be relieved from producing unredacted versions of documents
which have been redacted based solely on relevance and which have not been withheld on some other
basis which the Court has either deemed appropriate or has not addressed

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lWhile this Court recognizes that Plaintiffs` Ex Parte Application to Amend Scheduling Order, if
granted. could alter the trial date. any such continuance of the trial date would not alter this Court’s
conclusion that May l 1, 2009, is the appropriate end date.
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UNlTED STATES DISTRICT COURT
CENTRAL DISTRlCT OF CALIFORN[A

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Title ln Re Northrop Grumman Cor'poration ERISA Litigation

 

Sixth, the Court addresses defendants’ contention that RFPs 34-54, impermissibly seek
documents which are not relevant to the claims in the operative First Amended Complaint, but instead,
are addressed to the claims in the proposed second amended complaint3 Plaintiffs characterize such
requests as seeking “documents related to service providers that Plaintiffs specifically allege provided
impermissible benefits to the Defendants at the expense of the Plan participants.” (JS 3; Kelly Decl.

11 2). As the First Amended Complaint does not so “specifically allege,” this Court presumes plaintiffs
refer to the allegations contained in the proposed second amended complaint However, this Court’s
analysis is, and absent an order from the District fudge authorizing the filing of the proposed second
amended complaint, must be framed by the operative First Amended Complaint.

With the foregoing in mind, this Court considers whether RFPs 34-54 Seek documents relevant to
the claims contained in the First Amended Complaint Althouglr clearly not the focus of the First
Alnended Complaint, this C ourt cannot Say that documents evidencing the provision of impermissible
benefits to defendants at the expense of participants in the ERISA Plans in lssue are not relevant to the
claims contained in the First Amendcd Complaint As noted above, the First Amended Complaint
alleges, among other things, that defendants breached their fiduciary duty to plaintiffs by causing the
ERISA Plans in lssue to enter into agreements with service providers under which the plans paid fees
and expenses that were unreasonable and/or not incurred solely for the benefit of the plans’ participants
and allowing and causing the plans to pay fees and expenses that were unreasonable and/or not incurred
solely for the benefit of the plans’ participants Documents which evidence that someone other than the
participants in the ERlSA Plans in lssue benefitted from the fees/expenses are relevant to the breach of
fiduciary duty claims to the extent predicated upon the foregoing allegations Further, even though the
First Amended Complaint does not contain allegations of, and does not appear to be predicated upon
self-dealing, this does not alter the fact that self-dcaling, if shown, would be relevant to establish a
motive/explanation for the alleged breach of fiduciary duty. Accor'dingly, this Court concludes that
plaintiffs are entitled to some discovery on such topic under the currently operative First Amended
Complaint (c.g., documents sufficient to reflect wlrether, and the extent to which defendants received
preferential discounts and/or services from each of the specified entities, and the reasons/bases therefor).

However, the Court views the current requests to be overbroad (and would so conclude even if
the proposed second amended complaint was the operative pleading). Rather than attempting to narrow
these requests itself, the Court believes it appropriate to direct the parties to meet and confer regarding
narrowing the scope of such requests in light of the guidance afforded herein and to deny Defendants’
Motion to the extent defendants seek to be entirely relieved of responding to/producing documents
responsive to these requests (without prejudice to the assertion ofoverbreadth/relevance objections in
defendants` responses tlrereto).

 

"The requests in issue essentially seek all documents regarding or in any way related to the past
and present investment managers for funds/ investment managers and their subsidiaries and affiliates
including but not limited to contracts agreements fee schedules correspondence bills, invoices,
descriptions of services provided, presentations notes meetings1 minutes, and payments, also including
those documents relating to the/any and all services provided, and fees charged, by those investment
managers to other plans or accounts owned, beneficially owned` or sponsored by Northrup Grunrman,

including all defined benefit plans, VEBA, Rabbi l and Rabbi ll plans
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UNITED STATES DlSTRlCT COURT
CENTRAL DISTRlCT ()F CALIFORNIA

CIVlL lVllNUTES - GENERAL

 

 

Case No. CV 06-6213 l\/lMl\/l(le) Date July 19, 2010
Title ln Re Northrop Grumrnan Corporation ERISA Litigation
2. Defendants’ Motion is granted to the extent it seeks a Protective Order quashing the

Second Document Requests to the extent srrch requests seek documents which defendants have already
produced.

3. Defendants’ l\/lotion is denied to the extent defendants request that they be relieved from
producing unredacted versions of documents which have been redacted based solely on relevance and

which have not been withheld on some other basis which the Court has either deemed appropriate or has
not addressed

4. Defendants’ Motion is denied to the extent defendants seek to be entirely relieved of
responding to/producing documents responsive to RFPs 34-54 (witbout prejudice to the assertion of
overbreadth/relevance objections in defendants` responses thereto).

5. The parties are directed to meet and confer to attempt to agree upon a manner in which to
narrow l{FPs 34-54.

6. Defendants’ requests for cost-shifting and for costs and fees incurred in bringing
Defendants’ Motion arc denied as the Court finds that the circumstances present here would make any
such orders unjust.

IT lS SO ORDERED.

Initials of Deputy Clerk: kc

 

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